
Littleton, Judge,
delivered the opinion of the court:
The Consolidated Electronics Industries Corp. (formerly the Eeynolds Spring Company, hereinafter referred to as plaintiff) sues to recover $8,049.80, as an overpayment of interest on excess profits tax deficiencies for the period January 1, 1940, to September 80, 1940, and for the fiscal year ended September 30,1941. The facts are not in dispute.
The plaintiff filed its income and excess profits tax returns for the period January 1, 1940, to September 30, 1940, and for the fiscal year ended September 30, 1941 (hereinafter referred to as years 1940 and 1941, respectively), and paid the taxes shown due thereon. On its returns for these years plaintiff computed its excess profits credit under the equity invested capital method, which produced a lower profits tax.
On August 28, 1943, plaintiff filed with the Treasury Department an application to have its profits tax determined under section 722 of the Internal Eevenue Code of 1939, as amended, 26 U. S. C. § 722, note (1946 ed.).
On August 21, 1947, the Commissioner of Internal Eeve-nue, by 90-day letter, determined deficiencies in excess profits taxes for 1940 and 1941 in the respective amounts of $44,437.20 and $63,075.36, based on the equity invested capital method. The plaintiff filed a petition with the Tax Court, as provided by the statute, for a redetermination of these deficiencies. The only issue submitted to the Tax Court was *75the determination of the correct amount of equity invested capital and the amount of excess profits tax liability based thereon, the taxpayer claiming that invested capital should be in excess of what the Commissioner had determined.
On June 26, 1947, plaintiff executed an agreement with the Commissioner in which it agreed that its constructive average base period net income was $344,687.70. This is necessary before the provisions of section 722 may be applied. The Excess Profits Tax Council, representing the Commissioner, approved this agreement on the same date. The Excess Profits Tax Council considered the case and after a study thereof made a determination granting the taxpayer relief pursuant to section 722, and on April 20, 1948, the Commissioner formally approved the allowance and the elimination of a portion of the tax theretofore asserted. The approval by the Commissioner on April 20, 1948, of the elimination of such excess as determined and computed by the council under section 722, resulted in fixing the amount of plaintiff’s additional excess profits tax liability for 1940 and 1941, exclusive of interest, at $28,243.25 and $30,267.29, respectively, or a total of $58,510.54, if plaintiff computed its tax on the basis of the income method rather than the equity invested capital method. After this approval by the Commissioner he was not at liberty to assess and collect more than the $58,510.54.
Inasmuch as plaintiff was entitled to use either the income method under section 722 or the equity invested capital method, whichever was most advantageous, in determining its excess profits tax credit, it continued its Tax Court proceeding because it knew, and so did the Commissioner, that if its position on the disputed items with respect to the equity invested capital method was sustained, it would owe no additional excess profits taxes for 1940 and 1941.
On January 31, 1949, the Tax Court (12 T. C. 110) sustained the equity invested capital deficiencies which the Commissioner had determined in the 90-day notice in the amount of $44,437.50 for 1940 and $63,075.36 for 1941, or a total of $107,512.86, computed on the equity invested capital method. This decision was affirmed by the Circuit Court (181 F. 2d. 638), and certiorari was denied by the Supreme *76Court on October 9,1950 (340 U. S. 821). If that bad been all there was to the case the Tax Court decision would have become final on October 9, 1950. But here it was not.
Excess profits tax deficiencies, computed on the basis of plaintiff’s constructive average base period net income, were assessed on December 8, 1950, in the principal amount of $58,510.54 ($28,243.25 for 1940 and $30,267.29 for 1941). Interest, however, was assessed at the same time, computed on the previously proposed deficiencies based on the equity invested capital method on $107,512.86 ($44,437.50 for 1940 and $63,075.36 for 1941) from the due dates of the returns to December 8,1950, on the theory of the date of the finality of the Tax Court’s decision. But we think that under the facts of this case that was not all there was to the case.
On January 15, 1951, and January 23,1951, plaintiff paid the deficiencies and interest, together with the additional interest because of some delay in payment after notice and demand. Timely claims for refund were filed, rejected, and this suit followed.
The plaintiff originally contended that no interest was collectible by the Government on the $107,512.86 because this sum represented only potential deficiencies. However, after the decision in United States v. Koppers Company, Inc., 348 U. S. 254, plaintiff conceded that interest was due the Government on the $107,512.86 until April 20,1948, the date the Commissioner approved the allowance by him of relief which had the effect of eliminating $49,002.32 of the $107,512.86.
The only issue remaining, therefore, in the instant case is whether the Government was entitled to assess and collect interest on the deficiency of $107,512.86 after the Commissioner had approved, on April 20, 1948, the use of the constructive average base period net income for these years, which fixed the maximum additional excess profits tax liability for these years at $58,510.54.
The Internal Revenue Code does not expressly cover interest on “potential” deficiencies. Both parties rely on United States v. Koppers Company, supra. The plaintiff contends, and we think rightly, that the accrual of interest on the $107,512.86 ceased on the date the Commissioner approved the plaintiff’s right, as determined by the Tax Council, to *77use the agreed upon, constructive average base period net income, because at that time the Government’s right to assess and collect or retain any more excess profits taxes for 1940 and 1941 than would be due under the constructive average base period net income ($58,510.54) terminated or no longer existed. The defendant contends that interest was due on the $107,512.86 from the due dates of the returns to the date of assessment of the final deficiencies, and that the Supreme Court so held in the Koppers case supra.
The facts of the Koppers case and the instant case are in some respects very similar, but in others they are very different. In the Koppers case the taxpayer underpaid its excess profits taxes for the years 1940 and 1941, thus giving rise to excess profits tax deficiences for those years. Applications for relief under section 722 were filed. The Excess Profits Tax Council approved the constructive average base period net income for those years, but there was no final determination. The Commissioner in the Koppers case assessed deficiencies for those years based on the constructive average base period net income rather than on the average base period net income. The Commissioner also assessed interest on the proposed deficiencies which were based on the average base period net income, computed from the due dates of the returns to the date of assessment of the deficiencies based on the constructive average base period net income.
The question presented to the Court in the Koppers case was whether the relief granted under section 722, for interest purposes, related back to the due dates of the returns. The Supreme Court held that it did not. The underlying reason for the holding was that the Government was entitled to collect and use the money which was “abated” by the application of section 722 until that action was taken and that it was entitled to interest on the money for the period during which it was entitled to have its use.
The question in the instant case is, When did the abatement or elimination of the $49,002.32 of the $107,512.86 of the tax by law and procedure take place? We think it is clear, under the facts and the decision in the Koppers case, that the “abatement” or elimination of the unjust and discriminatory tax of $49,002.32 took place when the Govern*78ment’s right to the use of the money abated ceased and it no longer had the right to demand or collect it. In the Koppers case the Commissioner did not approve the determination of the Excess Profits Tax Council until he assessed the deficiencies based upon that determination. Since the Commissioner had not approved the section 722 relief until that time, the Court held that the Government was entitled to interest on the amounts abated until that time because the full amount was still owing to the Government. In the instant case the Commissioner approved a constructive average base period net income for the years in question on April 20,1948, and thereafter assessed the deficiencies based thereon on December 8, 1950.
"We think the Government’s right to the use of the money in excess of the $58,510.54 profits tax ceased on April 20, 1948, the date the Commissioner approved the use of the constructive average base period net income for the years 1940 and 1941, and fixed such tax in that amount, because the Govermnent was as of that time no longer entitled to assess, collect, or retain any more excess profits taxes for these years than were due under the approved constructive average base period net income method. The maximum additional excess profits taxes due the Government after April 20, 1948, was $58,510.54, and plaintiff concedes the Government properly collected interest on that amount until the date of its assessment.
The fact that plaintiff’s additional excess profits tax liability would have been less, or even zero, if it had been sustained on its equity invested capital claim, is not significant in determining when the Government’s right to collect and retain more than $58,510.54, plus interest, terminated.
The situation presented in this case arises only with respect to the years prior to January 1, 1942, because section 3771 (g)1 deprives the taxpayer of interest on any overpayment *79for those years attributable to the application of section 722. For years after December 31, 1941, interest is allowed on overpayments attributable to section 722 relief from one year after the filing of the application for relief or September 16, 1945, whichever is the later. Therefore, for the years beginning after December 31, 1941, the issue presented in this case would not arise because interest would accrue on the overpayment during this period at the same rate as interest on the deficiencies.
The defendant says that had plaintiff paid the $107,512.86 for 1940 and 1941 when it made its returns plaintiff would have been deprived of the full $107,512.86 until the over-payments attributable to section 722 were refunded without interest. Although this is true, we believe the Government has been recompensed for plaintiff’s failure to pay the $107,512.86, which was found by the Commissioner to be excessive and discriminatory, by the payment of interest at 6 percent on this sum during the time the Government was entitled to assess, collect, and retain this sum. Inasmuch as the statute does not expressly require the payment by the taxpayer of interest on this sum at all, we think that it would be an unreasonable and absurd interpretation of section 292 (a)2 to require, after the date of the Commissioner’s determination, the payment of interest on the sum of $49,002.32 which the Commissioner found on April 20,1948, was no longer due.
*80The plaintiff is entitled to recover and judgment will be entered to that effect. The amount of' recovery will be determined pursuant to Eule 38 (c).
It is so ordered.
Laramore, Judge; Madden, Judge; Whitaker, Judge; and Jones, Chief Judge, concur.
FINDINGS OE FACT
The court makes findings of fact, based upon the stipulation of the parties, and the briefs and argument of counsel, as follows:
1. The plaintiff corporation (formerly Eeynolds Spring Company, hereinafter sometimes referred to as plaintiff) duly filed its income and excess profits tax returns for the period January 1, 1940, to September 30, 1940, and for the fiscal year ended September 30,1941 (hereinafter sometimes referred to as years 1940 and 1941, respectively), and paid the taxes shown due thereon. On its returns for these years plaintiff computed its excess profits credit under the equity invested capital method.
2. On August 28, 1943, plaintiff filed an application for relief under section 722 of the Internal Eevenue Code of 1939, as amended.
3. The Commissioner of Internal Eevenue issued a statutory notice of deficiency to Eeynolds Spring Company (now Consolidated Electronics Industries Corp.) on August 21, 1947, proposing deficiencies in excess profits tax liability for the taxable period ended September 30, 1940, and for the fiscal year ended September 30, 1941, in the respective amounts of $44,437.50 and $63,075.36. The Eeynolds Spring Company filed a petition with the Tax Court of the United States for a redetermination of these deficiencies. The only issue submitted to the Tax Court was the determination of the correct amount of equity invested capital and the amount of excess profits tax liability based thereon. On January 31, 1949, the Tax Court, in an opinion reported in 12 T. C. 110, determined the issue involved in favor of the respondent, the Commissioner of Internal Eevenue, and on February 4,1949, *81entered its decision that there were deficiencies for the periods involved in the amounts set forth in the deficiency notice.
4. On April 25,1949, Reynolds Spring Company filed an appeal from the decision of the Tax Court with the United States Court of Appeals for the Sixth Circuit, and also filed a supersedeas bond in the amount of $87,000. On April 19, 1950, the Court of Appeals for the Sixth Circuit affirmed the decision of the Tax Court, 181 F. 2d. 688. Thereafter, Reynolds Spring Company filed a petition for writ of certiorari with the United States Supreme Court which was denied on October 9,1950, 840 U. S. 821.
5. Prior to the petition to, and the decision of, the Tax Court of the United States in the aforesaid Reynolds Spring Company case the Reynolds Spring Company had applied for relief under section 722 and upon receipt of a communication from the Section 722 Field Committee of the Internal Revenue Service, it executed an agreement with the Commissioner of Internal Revenue on June 26, 1947, in which it agreed that its constructive average base period net income was $344,687.70. The Excess Profits Tax Council approved this agreement on the same date.
6. The Commissioner approved the partial allowance of relief under section 722 on April 20, 1948. The allowance by the Commissioner of the section 722 relief on April 20, 1948, resulted in fixing the amount of plaintiff’s additional excess profits tax liability for the years 1940 and 1941, exclusive of interest, at $28,243.25 and $30,267.29, respectively, or a total of $58,510.54, if plaintiff computed its tax on the basis of the income method.
7. Inasmuch as plaintiff was entitled to use either the income method or the equity invested capital method, whichever was the most advantageous, in determining its excess profits tax credit, it continued its Tax Court proceeding because if its position on the disputed items with respect to the equity invested capital method was sustained, it would owe no additional excess profits taxes for the years 1940 and 1941. However, the Commissioner’s position was sustained.
8. The excess profits tax ultimately determined to be owing by the plaintiff for the periods of January 1 to September 30, 1940, and October 1, 1940 to September 30, 1941, was based *82on the constructive average base period net income of $344,687.70 as approved by the Excess Profits Tax Council and the Commissioner under section 722 of the Internal Revenue Code of 1939.
9. Excess profits tax deficiencies, computed on the basis of plaintiff’s constructive average base period net income, were assessed on December 8, 1950, in the principal amounts of $28,243.25 for 1940 and $30,267.29 for 1941. Interest was assessed at the same time, computed on the proposed deficiencies based on the equity invested capital method, on $44,437.50 for 1940 and $63,075.36 for 1941, from the due dates of the returns to December 8, 1950.
10. On January 15, 1951, and January 23, 1951, plaintiff paid the deficiencies and interest together with additional interest because of delay in payment after assessment and demand. Timely claims for refund were filed, rejected, and this suit was timely filed.
CONCLUSION OE LAW
Upon the foregoing findings of fact, which are made a part of the judgment herein, the court concludes as a matter of law that plaintiff is entitled to recover and that judgment will be entered to that effect. The amount of recovery will be determined pursuant to Rule 38 (c).
In accordance with the foregoing opinion and on a memorandum report of the commissioner as to the amount due plaintiff, it was ordered on October 2, 1956, that judgment for the plaintiff be entered for $7,779.08.

 Section 3771 (g), 26 U. S. C. (1946 ed.) :
“If any part of an overpayment for a taxable year beginning prior to January 1, 1942, is determined by tbe Commissioner to be attributable to tbe final determination of an application for relief or benefit under section 722 for any taxable year, no interest shall be allowed or paid with respect to snch part of the overpayment. If any part of an overpayment for a taxable year beginning after December 31, 1941, is determined by tbe Commissioner to be attributable to the final determination of an application for relief or benefit *79under section 722 for any taxable year, no interest shall be allowed or paid with respect to such part of the overpayment for any period prior to one year after the filing of such application, or September 16, 1945, whichever is the later. * * *”


 Section 292 (a), 26 U. S. C. (1946 ed.) :
“Interest on deficiencies — (a) General rule.
“Interest upon the amount determined as a deficiency shall be assessed at the same time as the deficiency, shall be paid upon notice and demand from the collector, and shall be collected as a part of the tax, at the rate of 6 per centum per annum from the date prescribed for the payment of the tax (or, if the tax is paid in installments, from the date prescribed for the payment of the first installment) to the date the deficiency is assessed, or, In the case of a waiver under section 272 (d), to thirtieth day after the filing of such waiver or to the date the deficiency is assessed whichever is the earlier. If any portion of the deficiency assessed is not to be collected by reason of a prior satisfaction, in whole or in part, of the tax, proper adjustment shall be made with respect to the interest on such portion.”

